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      United States District Court, Eastern District of Washington
                               Magistrate Judge James A. Goeke
                                           Yakima

 USA v. SUNDRON LARSELL MILLER Case No. 1:22-CR-2041-SMJ-1
                                        1:17-CR-2020-SMJ-1

        Yakima Video Conference (JAG @ Spokane; Counsel and Defendant @ Yakima)
                   The Defendant agreed to appear via video conference.

 Arraignment/Initial Appearance on Indictment and                                             05/06/2022
 Initial Appearance on Supervised Release Petitions:


 ☒ Pam Howard, Courtroom Deputy [Y]                     ☒ Michael Murphy, US Atty
 ☒ Melissa Orosco, Courtroom Deputy [S]                 ☒ Nick Mirr, Defense Atty
 ☒ Kyle Mowatt, US Probation / Pretrial                 ☒ Interpreter NOT REQUIRED
   Services Officer
 ☒ Defendant present ☒ in custody USM                   ☐ Defendant not present / failed to appear
   ☐out of custody

 ☒    USA Motion for Detention                          ☒    Rights given
 ☐    USA not seeking detention                         ☒    Acknowledgment of Rights filed
 ☒    Financial Affidavit (CJA 23) filed                ☒    Defendant received copy of charging documents
 ☒    The Court will appoint the Federal Defenders      ☒    Defendant waived reading of charging documents
 ☐    Based upon conflict with Federal Defenders, the   ☐    Charging document read in open court
      Court will appoint a CJA Panel Attorney
 ☒    PRE-Trial Services Report ordered                 ☐    POST Pre-Trial Services Report ordered

 ☐    AO Advice of Penalties/Sanctions filed


                                               REMARKS
        Defendant appeared and was assisted by counsel and advised of their rights and the allegations
contained in the Indictment and the petitions containing alleged violations 1 through 3.
        The Defendant acknowledged to the Court that their true and correct name is: SUNDRON
LARSELL MILLER.
        “Not guilty” plea entered as to the charges on the Indictment.
        Discovery to be provided pursuant to the local rule on discovery.
        A denial of the violations pending on the petitions is entered on behalf of Defendant.

The Court ordered:
        1. Defendant shall be detained by the U. S. Marshal until further order of the Court.
        2. As required by Rule 5(f), the United States is ordered to produce all information required by
           Brady v. Maryland and its progeny. Not doing so in a timely manner may result in sanctions,


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         including exclusion of evidence, adverse jury instructions, dismissal of charges, and contempt
         proceedings. Order forthcoming.




                                    Detention Hearings:
                          05/11/2022 @ 11:00 a.m. [Y/JAG](video)

                              Preliminary Hearing on Petitions:
                                    Waived by Defendant

                           *Tentative* Revocation Hearing Date:
                           6/29/2022 at 9:00 a.m. SMJ at Yakima




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